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                                       UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA (RICHMOND DIVISION)

                                                             AMENDED CHAPTER 13 PLAN
                                                              AND RELATED MOTIONS
Name of Debtor(s):                  Carla C Minor                                          Case No:   16-34565-KRH


This plan, dated          June 5, 2017           , is:

                                the first Chapter 13 plan filed in this case.
                                a modified Plan, which replaces the
                                  confirmed or unconfirmed Plan dated 09/30/2016.

                                Date and Time of Modified Plan Confirming Hearing:
                                July 19, 2017 at 11:10 am
                                Place of Modified Plan Confirmation Hearing:
                                701 E Broad St., Richmond, VA 23219, Courtroom 5000

                      The Plan provisions modified by this filing are:
                      1, 3B, 4, 5A

                      Creditors affected by this modification are:
                      All

NOTICE: YOUR RIGHTS WILL BE AFFECTED. You should read these papers carefully. If you
oppose any provision of this Plan, or if you oppose any included motions to (i) value collateral, (ii) avoid
liens, or (iii) assume or reject unexpired leases or executory contracts, you MUST file a timely written
objection.
This Plan may be confirmed and become binding, and the included motions in paragraphs 3, 6, and 7 to
value collateral, avoid liens, and assume or reject unexpired leases or executory contracts may be
granted, without further notice or hearing unless a written objection is filed not later than seven (7) days
prior to the date set for the confirmation hearing and the objecting party appears at the confirmation
hearing.
The debtor(s)' schedules list assets and liabilities as follows:

          Total Assets: $285,996.00
          Total Non-Priority Unsecured Debt: $253,763.26
          Total Priority Debt: $2,395.54
          Total Secured Debt: $320,903.69




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1.         Funding of Plan. The debtor(s) propose to pay the trustee the sum of $350.00 Monthly for 36 months, then $837.00
           Monthly for 24 months. Other payments to the Trustee are as follows: NONE . The total amount to be paid into the
           plan is $ 32,688.00 .

2.         Priority Creditors. The Trustee shall pay allowed priority claims in full unless the creditor agrees otherwise.

           A.          Administrative Claims under 11 U.S.C. § 1326.

                       1.           The Trustee will be paid the percentage fee fixed under 28 U.S.C. § 586(e), not to exceed 10%, of all sums
                                    disbursed except for funds returned to the debtor(s).
                       2.           Debtor(s)' attorney will be paid $ 4,100.00 balance due of the total fee of $ 5,100.00 concurrently
                                    with or prior to the payments to remaining creditors.

           B.          Claims under 11 U.S.C. §507.
                       The following priority creditors will be paid by deferred cash payments pro rata with other priority creditors or in
                       monthly installments as below, except that allowed claims pursuant to 11 U.S.C. § 507(a)(1) will be paid prior to
                       other priority creditors but concurrently with administrative claims above:

Creditor                                        Type of Priority                                     Estimated Claim       Payment and Term
Internal Revenue Service - VA                   Taxes and certain other debts                               1,520.90                     Prorata


3.         Secured Creditors: Motions to Value Collateral ("Cramdown"), Collateral being Surrendered, Adequate Protection
           Payments, and Payment of certain Secured Claims.

           A.          Motions to Value Collateral (other than claims protected from "cramdown" by 11 U.S.C. § 1322(b)(2) or by
                       the final paragraph of 11 U.S.C. § 1325(a)). Unless a written objection is timely filed with the Court, the
                       Court may grant the debtor(s)' motion to value collateral as set forth herein.


           This section deals with valuation of certain claims secured by real and/or personal property, other than claims protected from
           "cramdown" by 11 U.S.C. § 1322(b)(2) [real estate which is debtor(s)' principal residence] or by the final paragraph of 11
           U.S.C. § 1325(a) [motor vehicles purchased within 910 days or any other thing of value purchased within 1 year before filing
           bankruptcy], in which the replacement value is asserted to be less than the amount owing on the debt. Such debts will be
           treated as secured claims only to the extent of the replacement value of the collateral. That value will be paid with
           interest as provided in sub-section D of this section. You must refer to section 3(D) below to determine the interest
           rate, monthly payment and estimated term of repayment of any "crammed down" loan. The deficiency balance owed
           on such a loan will be treated as an unsecured claim to be paid only to the extent provided in section 4 of the Plan.
           The following secured claims are to be "crammed down" to the following values:

       Creditor                                      Collateral                      Purchase Date      Est Debt Bal.    Replacement Value
-NONE-

           B.          Real or Personal Property to be Surrendered.

           Upon confirmation of the Plan, or before, the debtor(s) will surrender his/her/their interest in the collateral securing the
           claims of the following creditors in satisfaction of the secured portion of such creditors' allowed claims. To the extent that the
           collateral does not satisfy the claim, any timely filed deficiency claim to which the creditor is entitled may be paid as a
           non-priority unsecured claim. Confirmation of the Plan shall terminate the automatic stay as to the interest of the debtor(s)
           and the estate in the collateral.

Creditor                                               Collateral Description                          Estimated Value    Estimated Total Claim
Credit Acceptance                                      #1 2014 Toyota Camry SE 30,000 miles                 11,500.00                    18,457.05




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           C.          Adequate Protection Payments.

           The debtor(s) propose to make adequate protection payments required by 11 U.S.C. § 1326(a) or otherwise upon claims
           secured by personal property, until the commencement of payments provided for in sections 3(D) and/or 6(B) of the Plan, as
           follows:

                                                                                                         Adeq. Protection
Creditor                                               Collateral Description                            Monthly Payment                 To Be Paid By
-NONE-
           Any adequate protection payment upon an unexpired lease of personal property assumed by the debtor(s) pursuant to section
           6(B) of the Plan shall be made by the debtor(s) as required by 11 U.S.C. § 1326(a)(1)(B) (payments coming due after the
           order for relief).

           D.          Payment of Secured Claims on Property Being Retained (except only those loans provided for in section 5 of
                       the Plan):

           This section deals with payment of debts secured by real and/or personal property [including short term obligations,
           judgments, tax liens and other secured debts]. After confirmation of the Plan, the Trustee will pay to the holder of each
           allowed secured claim, which will be either the balance owed on the indebtedness or, where applicable, the collateral's
           replacement value as specified in sub-section A of this section, whichever is less, with interest at the rate provided below,
           the monthly payment specified below until the amount of the secured claim has been paid in full. Upon confirmation of the
           Plan, the valuation and interest rate shown below will be binding unless a timely written objection to confirmation is
           filed with and sustained by the Court.

                                                                               Approx. Bal. of Debt or     Interest
       Creditor                                 Collateral                    "Crammed Down" Value          Rate      Monthly Paymt & Est. Term**
Navy Federal Cr              #18 Secured Credit Card                                            481.89     4.75%                               26.38
Union                                                                                                                                      19 months

           E.          Other Debts.


           Debts which are (i) mortgage loans secured by real estate which is the debtor(s)' primary residence, or (ii) other long term
           obligations, whether secured or unsecured, to be continued upon the existing contract terms with any existing default in
           payments to be cured pursuant to 11 U.S.C. § 1322(b)(5), are provided for in section 5 of the Plan.


4.         Unsecured Claims.

           A.          Not separately classified. Allowed non-priority unsecured claims shall be paid pro rata from any distribution
                       remaining after disbursement to allowed secured and priority claims. Estimated distribution is
                       approximately 2 %. The dividend percentage may vary depending on actual claims filed. If this case were
                       liquidated under Chapter 7, the debtor(s) estimate that unsecured creditors would receive a dividend of
                       approximately 0 %.

           B.          Separately classified unsecured claims.

Creditor                                                        Basis for Classification                                              Treatment
-NONE-




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5.         Mortgage Loans Secured by Real Property Constituting the Debtor(s)' Primary Residence; Other Long Term
           Payment Obligations, whether secured or unsecured, to be continued upon existing contract terms; Curing of any
           existing default under 11 U.S.C. § 1322(b)(5).

           A.          Debtor(s) to make regular contract payments; arrears, if any, to be paid by Trustee. The creditors listed below
                       will be paid by the debtor(s) pursuant to the contract without modification, except that arrearages, if any, will be
                       paid by the Trustee either pro rata with other secured claims or on a fixed monthly basis as indicated below, without
                       interest unless an interest rate is designated below for interest to be paid on the arrearage claim and such interest is
                       provided for in the loan agreement.

                                                                                   Regular                Arrearage                      Monthly
                                                                                  Contract    Estimated    Interest  Estimated          Arrearage
Creditor                              Collateral                                  Payment     Arrearage     Rate    Cure Period          Payment
Ladysmith Village                     18038 Clark and York Blvd                       0.00         0.00     0%         0 months
Community As                          Ruther Glen, VA 22546
                                      Caroline County
Statebridge Company                   #27 18038 Clark and York Blvd               1,400.00     8,594.58     0%          Prorata            Prorata
LLC                                   Ruther Glen, VA 22546
                                      Caroline County
Statebridge Company                   18038 Clark and York Blvd                       0.00     9,471.02     0%          Prorata            Prorata
LLC                                   Ruther Glen, VA 22546
                                      Caroline County

           B.          Trustee to make contract payments and cure arrears, if any. The Trustee shall pay the creditors listed below the
                       regular contract monthly payments that come due during the period of this Plan, and pre-petition arrearages on such
                       debts shall be cured by the Trustee either pro rata with other secured claims or with monthly payments as set forth
                       below.

                                                                                   Regular                                               Monthly
                                                                                  Contract     Estimated Interest     Term for          Arrearage
Creditor                              Collateral                                  Payment      Arrearage Rate         Arrearage          Payment
-NONE-

           C.          Restructured Mortgage Loans to be paid fully during term of Plan. Any mortgage loan against real estate
                       constituting the debtor(s)' principal residence upon which the last scheduled contract payment is due before the final
                       payment under the Plan is due shall be paid by the Trustee during the term of the Plan as permitted by 11 U.S.C. §
                       1322(c)(2) with interest at the rate specified below as follows:

                                                                                   Interest     Estimated
       Creditor                                    Collateral                        Rate        Claim        Monthly Paymt& Est. Term**
-NONE-


6.         Unexpired Leases and Executory Contracts. The debtor(s) move for assumption or rejection of the executory contracts and
           leases listed below.

           A.          Executory contracts and unexpired leases to be rejected. The debtor(s) reject the following executory contracts.

Creditor                                                  Type of Contract
-NONE-

           B.          Executory contracts and unexpired leases to be assumed. The debtor(s) assume the following executory
                       contracts. The debtor agrees to abide by all terms of the agreement. The Trustee will pay the pre-petition
                       arrearages, if any, through payments made pro rata with other priority claims or on a fixed monthly basis as
                       indicated below.

                                                                                                                   Monthly
                                                                                                                   Payment             Estimated
Creditor                                   Type of Contract                                   Arrearage          for Arrears          Cure Period
-NONE-
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7.          Liens Which Debtor(s) Seek to Avoid.

            A.          The debtor(s) move to avoid liens pursuant to 11 U.S.C. § 522(f). The debtor(s) move to avoid the following
                        judicial liens and non-possessory, non-purchase money liens that impair the debtor(s)' exemptions. Unless a
                        written objection is timely filed with the Court, the Court may grant the debtor(s)' motion and cancel the
                        creditor's lien. If an objection is filed, the Court will hear evidence and rule on the motion at the confirmation
                        hearing.

Creditor                                    Collateral                              Exemption Amount                        Value of Collateral
-NONE-

            B.          Avoidance of security interests or liens on grounds other than 11 U.S.C. § 522(f). The debtor(s) have filed or
                        will file and serve separate pleadings to avoid the following liens or security interests. The creditor should review
                        the notice or summons accompanying such pleadings as to the requirements for opposing such relief. The listing
                        here is for information purposes only.

Creditor                                     Type of Lien                  Description of Collateral           Basis for Avoidance
-NONE-

8.          Treatment and Payment of Claims.

            •           All creditors must timely file a proof of claim to receive payment from the Trustee.
            •           If a claim is scheduled as unsecured and the creditor files a claim alleging the claim is secured but does not timely
                        object to confirmation of the Plan, the creditor may be treated as unsecured for purposes of distribution under the
                        Plan. This paragraph does not limit the right of the creditor to enforce its lien, to the extent not avoided or provided
                        for in this case, after the debtor(s) receive a discharge.
            •           If a claim is listed in the plan as secured and the creditor files a proof of claim alleging the claim is unsecured, the
                        creditor will be treated as unsecured for purposes of distribution under the Plan.
            •           The Trustee may adjust the monthly disbursement amount as needed to pay an allowed secured claim in full.

9.          Vesting of Property of the Estate. Property of the estate shall revest in the debtor(s) upon confirmation of the Plan.
            Notwithstanding such vesting, the debtor(s) may not sell, refinance, encumber real property or enter into a mortgage loan
            modification without approval of the Court after notice to the Trustee, any creditor who has filed a request for notice and
            other creditors to the extent required by the Local Rules of this Court.

10.         Incurrence of indebtedness. The debtor(s) shall not voluntarily incur additional indebtedness exceeding the cumulative
            total of $5,000 principal amount during the term of this Plan, either unsecured or secured against personal property, except
            upon approval of the Court after notice to the Trustee, any creditor who has filed a request for notice, and other creditors to
            the extent required by the Local Rules of this Court.

11.         Other provisions of this plan:
            Any unsecured proof of claim for a claim of deficiency that results from the surrender and liquidation of collateral
            noted in Paragraph 3(B) of this plan must be filed by the earlier of the following or such claim shall be forever barred:
            (1) within 90 days of the date of the first confirmation order confirming a plan providing for the surrender of said
            collateral, or (2) within the time period for the filing of an unsecured deficiency claim as established by any Order
            granting relief from the automatic stay with respect to said collateral. Said unsecured proof of claim for a deficiency
            must include appropriate documentation establishing that the collateral surrendered has been liquidated, and the
            proceeds applied, in accordance with applicable state law.




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Signatures:


Dated:        June 5, 2017


/s/ Carla C Minor                                                                             /s/ Tommy Andrews, Jr. VA Bar #
Carla C Minor                                                                                 Tommy Andrews, Jr. VA Bar # 28544
Debtor                                                                                        Debtor's Attorney


Exhibits:             Copy of Debtor(s)' Budget (Schedules I and J);
                      Matrix of Parties Served with Plan


                                                                     Certificate of Service
I certify that on      June 6, 2017           , I mailed a copy of the foregoing to the creditors and parties in interest on the attached Service
List.

                                                             /s/ Tommy Andrews, Jr. VA Bar #
                                                             Tommy Andrews, Jr. VA Bar # 28544
                                                             Signature

                                                             122 North Alfred Street
                                                             Alexandria, VA 22314
                                                             Address

                                                             703.838.9004
                                                             Telephone No.



Ver. 09/17/09 [effective 12/01/09]




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Fill in this information to identify your case:

Debtor 1                      Carla C Minor

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:        EASTERN DISTRICT OF VIRGINIA (RICHMOND
                                               DIVISION)

Case number               16-34565                                                                        Check if this is:
(If known)
                                                                                                              An amended filing
                                                                                                              A supplement showing postpetition chapter
                                                                                                              13 income as of the following date:

Official Form 106I                                                                                            MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                      Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                      Employed
       attach a separate page with            Employment status
       information about additional                                   Not employed                                  Not employed
       employers.
                                              Occupation           teacher                                       disabled
       Include part-time, seasonal, or
       self-employed work.                    Employer's name      Fredericksburg Public Schools

       Occupation may include student         Employer's address
                                                                   PO Box 267
       or homemaker, if it applies.
                                                                   Fredericksburg, VA 22404

                                              How long employed there?        started in August, 2016

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                        For Debtor 1          For Debtor 2 or
                                                                                                                              non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.      $         4,029.34        $            0.00

3.     Estimate and list monthly overtime pay.                                              3.     +$              0.00       +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.      $      4,029.34               $      0.00




Official Form 106I                                                       Schedule I: Your Income                                                  page 1
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Debtor 1    Carla C Minor                                                                         Case number (if known)    16-34565


                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      4,029.34       $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        437.18       $                0.00
      5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $                0.00
      5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00       $                0.00
      5d.    Required repayments of retirement fund loans                                  5d.        $          0.00       $                0.00
      5e.    Insurance                                                                     5e.        $        869.56       $                0.00
      5f.    Domestic support obligations                                                  5f.        $          0.00       $                0.00
      5g.    Union dues                                                                    5g.        $          0.00       $                0.00
      5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +     $                0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,306.74       $                0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          2,722.60       $                0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00   $                0.00
      8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $                0.00
      8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
      8e. Social Security                                                                  8e.        $              0.00   $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $              0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $              0.00
      8h. Other monthly income. Specify: Long Term Disability payment                      8h.+ $                    0.00 + $          1,939.60

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $           1,939.60

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              2,722.60 + $       1,939.60 = $           4,662.20
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.    $          4,662.20
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
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Fill in this information to identify your case:

Debtor 1                 Carla C Minor                                                                     Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                             A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                  13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF VIRGINIA                                               MM / DD / YYYY
                                          (RICHMOND DIVISION)

Case number           16-34565
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s       Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age               live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Daughter                             21                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,393.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                               0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                               0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             100.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                               0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                               0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                             page 1
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Debtor 1     Carla C Minor                                                                             Case number (if known)      16-34565

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.   $                               160.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                                80.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                                 0.00
      6d. Other. Specify: Cellphones                                                                         6d.   $                               267.00
             Cable/internet/telephone                                                                              $                               196.00
7.    Food and housekeeping supplies                                                           7.                  $                               600.00
8.    Childcare and children’s education costs                                                 8.                  $                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9.                  $                                72.00
10.   Personal care products and services                                                    10.                   $                                60.00
11.   Medical and dental expenses                                                            11.                   $                               100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 300.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  70.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   89.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  108.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Property taxes                                                                16. $                                                  30.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  549.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Pet expenses                                                        21. +$                                                 38.00
      Professional Development for Debtor                                                         +$                                               100.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                     4,312.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     4,312.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,662.20
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              4,312.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 350.20

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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                        ChexSystems
                        Attn: Consumer Relations
                        7805 Hudson Rd., Suite 100
                        Saint Paul, MN 55125


                        Equifax Check Services
                        PO Box 30272
                        Tampa, FL 33630-3272


                        Telecheck Services, Inc.
                        5251 Westheimer
                        Houston, TX 77056


                        TransUnion
                        P.O. Box 2000
                        Chester, PA 19022


                        Experian
                        475 Anton Blvd
                        Costa Mesa, CA 92626


                        Internal Revenue Service - VA
                        Centralized Insolvency
                        P.O. Box 7346
                        Philadelphia, PA 19101-7346


                        Early Warning Services
                        16552 N 90th St.
                        Scottsdale, AZ 85255


                        Virginia Deparment of Taxation
                        c/o TACS
                        PO Box 2156
                        Richmond, VA 23218


                        American Infosource
                        PO Box 248838
                        Oklahoma City, OK 73124-8872


                        Caine & Weiner
                        Po Box 5010
                        Woodland Hills, CA 91365
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                    Capital One
                    Po Box 30285
                    Salt Lake City, UT 84130


                    Cardiology Assoc of Freder
                    9530 Cosner Drive
                    Suite 200
                    Fredericksburg, VA 22408


                    Caroline County Treasurer Offi
                    Po Box 431
                    Bowling Green, VA 22427


                    Colonial Internal Medicine
                    PO BOX 845
                    Fredericksburg, VA 22404


                    Comenity Bank/Ann Taylor
                    Po Box 182125
                    Columbus, OH 43218


                    Comenity Bank/Dressbarn
                    Po Box 182125
                    Columbus, OH 43218


                    Comenity Capital Bank/HSN
                    Po Box 182125
                    Columbus, OH 43218


                    COMMONWEALTH OF VA
                    DEPARTMENT OF TAXATION
                    P.O. BOX 1880
                    Richmond, VA 23218


                    Credit Acceptance
                    25505 West 12 Mile Rd
                    Suite 3000
                    Southfield, MI 48034


                    Dept Of Ed/Navient
                    Attn: Claims Dept
                    Po Box 9400
                    Wilkes Barr, PA 18773
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                    FCBCS, Inc.
                    330 S. Warminster Rd. Ste 353
                    Hatboro, PA 19040


                    First National Collection Bu
                    610 Waltham Way
                    Sparks, NV 89434


                    Focused Recovery Solutions
                    9701-Metropolitan Ct
                    Ste B
                    Richmond, VA 23236


                    Fredericksburg Emer Med All.
                    PO Box 808
                    Grand Rapids, MI 49518


                    Fredericksburg Hospital Group
                    PO Box 824153
                    Philadelphia, PA 19182


                    Fredericksburg Orthopaedic Ass
                    3310 Fall Hill Ave
                    Fredericksburg, VA 22401


                    GM Financial
                    75 Remittance Dr
                    Ste 1738
                    Chicago, IL 60675


                    Hope International College
                    2500 East Nutwood Ave.
                    Fullerton, CA 92831


                    Kay Jewelers
                    375 Ghent Road
                    Akron, OH 44333


                    Ladysmith Village Community As
                    po box 11980
                    Newark, NJ 07101


                    Macys
                    9111 Duke Blvd
                    Mason, OH 45040-8999
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                    Mary Wash Hlth care
                    2300 Fall Hill Ave
                    Ste 101
                    Fredericksburg, VA 22401


                    Medical Imaging of Fred'burg
                    PO Box 7606
                    Fredericksburg, VA 22404


                    Merrick Bank/Geico Card
                    Po Box 23356
                    Pittsburg, PA 15222


                    Monarch Recovery Management
                    10965 Decatur Rd.
                    Philadelphia, PA 19154


                    Nations Recovery Center Inc
                    PO BOX 48719
                    Atlanta, GA 30362


                    Nationwide Recovery Service
                    545 W Inman St
                    Cleveland, TN 37311


                    Natiowide Recovery Service
                    545 West Inman St
                    Cleveland, TN 37311


                    Natiowide Recovery Service
                    Po Box 8005
                    Cleveland, TN 37320


                    Navient
                    Attn: Claims Dept
                    Po Box 9500
                    Wilkes-Barr, PA 18773


                    Navy FCU
                    POB 3000
                    Merrifield, VA 22119


                    Navy Federal Cr Union
                    Po Box 3700
                    Merrifield, VA 22119
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                    Parrish Snead Franklin Simpso
                    910 Princess Anne St
                    2nd Floor
                    Roanoke, VA 24040


                    Prince Wlm County Public Schoo
                    PO Box 389
                    Manassas, VA 20108


                    Quantum3 Group
                    agent for JH Portfolio
                    PO Box 788
                    Kirkland, WA 98083-0788


                    Regional Acceptance Co
                    304 Kellm Road
                    Virginia Beach, VA 23462


                    Santander Consumer Usa
                    Po Box 961245
                    Ft Worth, TX 76161


                    Spotsylvania Multi Specialty
                    POB 740776
                    Cincinnati, OH 45274


                    Statebridge Company LLC
                    5680 Greenwood Plaza Blvd.
                    Suite 100 S
                    Englewood, CO 80111


                    Stern & Eisenberg PC
                    9411 Philadelphia RD Suit M
                    Rosedale, MD 21237


                    Synchrony Bank/Amazon
                    Po Box 965064
                    Orlando, FL 32896


                    Tate&Kirlin Associates
                    2810 SouthHampton Rd
                    Philadelphia, PA 19154
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                    Travelers Insurance
                    9954 Mayland Dr. Ste 6100
                    Henrico, VA 23233


                    United Consumers Inc
                    PO Box 4466
                    Woodbridge, VA 22194-4466


                    United Consumers, Inc
                    PO Box 4466
                    Woodbridge, VA 22194


                    Verizon
                    PO Box 17577
                    Baltimore, MD 21297-0513


                    Visa Dept Store National Bank
                    Attn: Bankruptcy
                    Po Box 8053
                    Mason, OH 45040


                    Vista Heart and Vascular PPLC
                    Po Box 3339
                    Fredericksburg, VA 22402
